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  1
       HAYES PAWLENKO LLP
       MATTHEW B. HAYES (SBN 220639)
  2    mhayes@helpcounsel.com
  3    KYE D. PAWLENKO (SBN 221475)
       kpawlenko@helpcounsel.com
  4
       595 E. COLORADO BLVD., SUITE 303
  5    PASADENA, CA 91101
       (626) 808-4357; FAX (626) 921-4932
  6

  7    Attorneys for Plaintiff
       CRESCENCIO VILLALOBOS
  8

  9
                        UNITED STATES DISTRICT COURT
  10
                       CENTRAL DISTRICT OF CALIFORNIA
  11
                                SOUTHERN DIVISION
  12

  13
       CRESCENCIO VILLALOBOS,             )    Case No.
  14                                      )
                                          )    COMPLAINT FOR:
  15                          Plaintiff,  )    1. Breach of Fiduciary Duties (29
       v.                                 )    U.S.C. § 1104(a))
  16                                      )    2. Prohibited Fiduciary Self-Dealing
       DOWNEY GRINDING CO.; LARRY )            (29 U.S.C. § 1106(b))
  17   SEQUEIRA; DARLA SEQUEIRA;          )    3. Failure to Make Minimum
       and DOES 1 to 10 inclusive,        )    Contributions (29 U.S.C. § 1082)
  18                                      )    4. Failure to Provide Notice of Plan
                              Defendants. )    Termination (29 U.S.C. § 1054(h))
                                          )    5. Failure to Provide Pension Benefit
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                                          )    Statements (29 U.S.C. § 1025(a))
                                          )    6. Failure to Provide Notice of
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                                          )    Minimum Funding Failure (29 U.S.C. §
                                          )    1021(d))
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  1              Plaintiff Crescencio Villalobos (“Plaintiff”) alleges as follows:
  2                                  NATURE OF THE ACTION
  3              1.    This action is brought under the Employee Retirement Income
  4    Security Act of 1974, as amended (“ERISA”), 29 U.S.C. § 1001 et seq., on behalf
  5    of the Downey Grinding Co., Inc. Money Purchase Pension Plan (“the Pension
  6    Plan”) and the Downey Grinding Co., Inc. Stock Bonus Plan (“the Profit Sharing
  7    Plan”) (collectively referred to as “the Plans”) and seeks equitable and other non-
  8    compensatory relief pursuant to 29 U.S.C. §§ 1132(a)(2), (a)(3), (c)(1), and (c)(3).
  9                                         JURISDICTION
  10             2.    This Court has original federal question jurisdiction under 28 U.S.C. §
  11   1331 because 29 U.S.C. § 1132(e)(1) provides that federal district courts shall have
  12   exclusive jurisdiction of ERISA actions for equitable and other non-compensatory
  13   relief.
  14                                             VENUE
  15             3.    This action may be brought in this judicial district under 28 U.S.C. §
  16   1391 and 29 U.S.C. § 1132(e)(2) because the Plans are administered here, the
  17   breaches took place here, and all Defendants reside here.
  18                                            PARTIES
  19             4.    Plaintiff is a former employee of Defendant Downey Grinding Co.
  20   and a current participant and beneficiary of the Plans entitled to future benefits.
  21             5.    Defendant Downey Grinding Co. is a privately held corporation
  22   located in Downey, California and the sole sponsor and administrator of the Plans.
  23             6.    Defendant Larry Sequeira, a resident of Yorba Linda, California, is the
  24   former president of Defendant Downey Grinding Co. and is the sole trustee of the
  25   Pension Plan and a co-trustee of the Profit Sharing Plan.
  26             7.    Defendant Darla Sequeira, a resident of Yorba Linda, California, is the
  27   former secretary of Defendant Downey Grinding Co. and, along with Defendant
  28   Larry Sequeira, a co-trustee of the Profit Sharing Plan.


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  1          8.     Plaintiff is currently unaware of the true names and capacities of the
  2    defendants sued by the fictitious names DOES 1 through 10, inclusive, and,
  3    therefore, sues those defendants by fictitious names. Plaintiff alleges that each of
  4    the DOE defendants is responsible or liable in some manner for the conduct
  5    alleged in the complaint and that the ERISA violations as herein alleged were
  6    proximately caused by those DOE defendants. Plaintiff will amend this complaint
  7    to allege the true names and capacities of such fictitiously named defendants when
  8    they are ascertained.
  9          9.     Plaintiff alleges that, at all times herein mentioned, each of the
  10   defendants was the agent, servant and employee of each of the other defendants,
  11   and in connection with the conduct hereinafter alleged, was acting within the scope
  12   of such agency and employment, and each defendant ratified each and every act,
  13   omission and thing done by each and every other defendant named herein.
  14         10.    Defendants Downey Grinding Co., Larry Sequeira, Darla Sequeira,
  15   and DOES 1 through 10 will be referred to hereafter, collectively, as “Defendants.”
  16     FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
  17         11.    The Pension Plan is a defined contribution individual account plan
  18   sponsored and administered by Defendant Downey Grinding Co. The Pension
  19   Plan is subject to the minimum funding requirements of section 302 of ERISA, 29
  20   U.S.C. § 1082, and is governed by Title I of ERISA.
  21         12.    The Profit Sharing Plan is a defined contribution individual account
  22   plan sponsored and administered by Defendant Downey Grinding Co. The Profit
  23   Sharing Plan is not subject to the minimum funding requirements of section 302 of
  24   ERISA, 29 U.S.C. § 1082, but is otherwise governed by Title I of ERISA.
  25         13.    Plaintiff is a participant and beneficiary of both the Pension Plan and
  26   the Profit Sharing Plan and is entitled to future benefits under both of the Plans.
  27         14.    Participants and beneficiaries of the Plans do not have the right to
  28   direct the investment of assets in their individual accounts. Instead, the trustee(s)


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  1    of the Plans have the sole authority to direct the investment of the Plans’ assets,
  2    and the trustee(s) are compensated for their services with assets from the Plans.
  3          15.    The annual statements furnished to participants and beneficiaries of
  4    the Plans do not include the value of each investment to which assets in their
  5    individual accounts have been allocated. Thus, participants and beneficiaries of
  6    the Plans have no way of knowing how the trustee(s) of the Plans are investing the
  7    assets in their individual accounts.
  8          16.    The trustee(s) of the Plans invested a substantial portion of the assets
  9    of the Plans in the securities of Defendant Downey Grinding Co., whose shares are
  10   not bought or sold on a stock exchange. Because these employer securities are not
  11   publicly traded, the trustee(s) of the Plans determine their value. The trustee(s) of
  12   the Plans never engaged an independent qualified public accountant to audit the
  13   Plans’ financial statements.
  14         17.    For the fiscal plan year ending May 31, 2015, the trustees of the Profit
  15   Sharing Plan, Defendants Larry Sequeira and Darla Sequeira, grossly inflated their
  16   valuation of the shares of Defendant Downey Grinding Co. held by the Profit
  17   Sharing Plan in order to maximize their own personal distributions from the Profit
  18   Sharing Plan upon their impending retirement. Because the trustees of the Profit
  19   Sharing Plan failed to engage an independent qualified public accountant to audit
  20   their valuation of the employer securities, participants and beneficiaries of the
  21   Profit Sharing Plan were never made aware of the inflated valuation.
  22         18.    During the fiscal plan year ending May 31, 2016, the trustee of the
  23   Pension Plan, Defendant Larry Sequeira, ostensibly terminated the Pension Plan
  24   and purported to transfer the assets of the Pension Plan to the Profit Sharing Plan.
  25   This was contrary to the terms of the Pension Plan, which require that, upon
  26   termination, the assets of the Pension Plan must be distributed to participants and
  27   beneficiaries either in a lump sum or in the form of a deferred annuity purchased
  28   from an insurance company to guarantee payment of a monthly pension to


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  1    participants and beneficiaries upon normal retirement age.
  2          19.    No written resolution was ever adopted to formally terminate the
  3    Pension Plan and no written notice of the Pension Plan’s ostensible termination
  4    was ever provided to participants and beneficiaries of the Pension Plan. Defendant
  5    Downey Grinding Co. ceased making required employer contributions to the
  6    Pension Plan on or about June 1, 2015, but never provided notice to participants
  7    and beneficiaries of the Pension Plan of its failure to make employer contributions.
  8          20.    During the fiscal plan year ending May 31, 2017, the trustees of the
  9    Profit Sharing Plan, Defendants Larry Sequeira and Darla Sequeira, distributed
  10   over $1 million in assets from the Profit Sharing Plan to beneficiaries, including
  11   themselves, based on their inflated valuation of the employer securities.
  12                             FIRST CAUSE OF ACTION
  13                         BREACH OF FIDUCIARY DUTIES
  14                                   29 U.S.C. § 1104(a)
  15         21.    Plaintiff incorporates all previously alleged paragraphs as though fully
  16   set forth herein.
  17         22.    Plaintiff brings this cause of action on behalf of the Plans pursuant to
  18   29 U.S.C. § 1132(a)(2) and 29 U.S.C. § 1132(a)(3).
  19         23.    Defendants breached their fiduciary duties of loyalty to the Plans by
  20   failing to discharge their duties solely in the interests of the participants and
  21   beneficiaries of the Plans in violation of 29 U.S.C. § 1104(a)(1)(A).
  22         24.    Defendants breached their fiduciary duties of prudence to the Plans by
  23   failing to discharge their duties with the care, skill, prudence, and diligence of a
  24   prudent person in violation of 29 U.S.C. § 1104(a)(1)(B).
  25         25.    Defendants breached their fiduciary duties of diversification to the
  26   Plans by failing to diversify the investments of the Pension Plan assets so as to
  27   minimize the risk of loss in violation of 29 U.S.C. § 1104(a)(1)(C).
  28   ///


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  1          26.    Defendants breached their fiduciary duties to the Plans by failing to
  2    discharge their duties in accordance with the documents and instruments governing
  3    the Plans in violation of 29 U.S.C. § 1104(a)(1)(D).
  4          27.    As a result of their breaches of fiduciary duties, Defendants caused the
  5    Plans, of which they are fiduciaries, to suffer financial losses for which Defendants
  6    are personally, jointly, and severally liable to the Plans pursuant to 29 U.S.C. §
  7    1105(a) and 29 U.S.C. § 1109(a).
  8                             SECOND CAUSE OF ACTION
  9                            PROHIBITED SELF-DEALING
  10                                   29 U.S.C. § 1106(b)
  11         28.    Plaintiff incorporates all previously alleged paragraphs as though fully
  12   set forth herein.
  13         29.    Plaintiff brings this cause of action on behalf of the Plans pursuant to
  14   29 U.S.C. § 1132(a)(2) and 29 U.S.C. § 1132(a)(3).
  15         30.    Defendants Larry Sequeira and Darla Sequeira engaged in prohibited
  16   self-dealing when they dealt with the assets of the Plans in their own interests and
  17   for their own accounts in violation of 29 U.S.C. § 1106(b)(1).
  18         31.    Defendants Larry Sequeira and Darla Sequeira engaged in prohibited
  19   self-dealing when they received consideration for their own personal accounts in
  20   connection with transactions involving the assets of the Plans in violation of 29
  21   U.S.C. § 1106(b)(3).
  22         32.    As a result of these prohibited self-dealing transactions, Defendants
  23   caused the Plans, of which they are fiduciaries, to suffer financial losses for which
  24   Defendants are personally, jointly, and severally liable to the Plans pursuant to 29
  25   U.S.C. § 1105(a) and 29 U.S.C. § 1109(a).
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  27   ///
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  1                               THIRD CAUSE OF ACTION
  2                  FAILURE TO MAKE MINIMUM CONTRIBUTIONS
  3                                      29 U.S.C. § 1082
  4            33.   Plaintiff incorporates all previously alleged paragraphs as though fully
  5    set forth herein.
  6            34.   Plaintiff brings this cause of action on behalf of the Plans pursuant to
  7    29 U.S.C. § 1132(a)(2) and 29 U.S.C. § 1132(a)(3).
  8            35.   Defendant Downey Grinding Co., as employer, is required by section
  9    302 of ERISA, 29 U.S.C. § 1082, to make minimum contributions to the Pension
  10   Plan.
  11           36.   Defendants breached their fiduciary duties to the Pension Plan by
  12   ostensibly terminating the Pension Plan without adopting a written resolution to
  13   formally terminate the Pension Plan.
  14           37.   Defendants breached their fiduciary duties to the Pension Plan by
  15   failing to provide written notice of the Pension Plan’s termination to participants
  16   and beneficiaries of the Pension Plan.
  17           38.   Defendants breached their fiduciary duties to the Pension Plan by
  18   transferring the assets of the Pension Plan to the Profit Sharing Plan contrary to the
  19   terms of the Pension Plan requiring the assets to be distributed to participants and
  20   beneficiaries either in a lump sum or in the form of a deferred annuity purchased
  21   from an insurance company to guarantee payment of a monthly pension upon
  22   normal retirement age.
  23           39.   As a result of their breaches of fiduciary duties, Defendants caused
  24   Defendant Downey Grinding Co. to cease making minimum contributions to the
  25   Pension Plan and prevented participants and beneficiaries from receiving
  26   distributions of Pension Plan assets.      Defendants are personally, jointly, and
  27   severally liable to the Plans for these breaches pursuant to 29 U.S.C. § 1105(a) and
  28   29 U.S.C. § 1109(a).


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  1                              FOURTH CAUSE OF ACTION
  2           FAILURE TO PROVIDE NOTICE OF PLAN TERMINATION
  3                                    29 U.S.C. § 1054(h)
  4            (AGAINST DEFENDANT DOWNEY GRINDING CO. ONLY)
  5          40.    Plaintiff incorporates all previously alleged paragraphs as though fully
  6    set forth herein.
  7          41.    Plaintiff brings this cause of action on behalf of the Plans pursuant to
  8    29 U.S.C. § 1132(a)(3).
  9          42.    Defendant Downey Grinding Co., as administrator of the Pension
  10   Plan, failed to give written notice to Pension Plan participants and beneficiaries
  11   before the effective date of the amendment to terminate the Pension Plan in
  12   violation of 29 U.S.C. § 1054(h).
  13         43.    Defendant Downey Grinding Co.’s failure to provide such written
  14   notice was egregious within the meaning of 29 U.S.C. § 1054(h) because it was
  15   either an intentional failure or an unintentional failure that resulted in most of the
  16   individuals not being provided most of the information they were entitled to
  17   receive.
  18         44.    As a result of Defendant Downey Grinding Co.’s egregious failure,
  19   the Pension Plan is entitled, pursuant to 29 U.S.C. § 1054(h), to recover the
  20   payments participants and beneficiaries would have received under the Pension
  21   Plan without regard to the amendment ostensibly terminating the Pension Plan.
  22                             FIFTH CAUSE OF ACTION
  23           FAILURE TO PROVIDE PENSION BENEFIT STATEMENTS
  24                                   29 U.S.C. § 1025(a)
  25           (AGAINST DEFENDANT DOWNEY GRINDING CO. ONLY)
  26         45.    Plaintiff incorporates all previously alleged paragraphs as though fully
  27   set forth herein.
  28   ///


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  1          46.    Plaintiff brings this cause of action on behalf of the Plans pursuant to
  2    29 U.S.C. § 1132(c)(1).
  3          47.    Defendant Downey Grinding Co., as administrator of the Plans, failed
  4    to provide participants and beneficiaries of the Plans with pension benefit
  5    statements in accordance with the requirements of 29 U.S.C. § 1025(a) because the
  6    statements it did provide failed to include the value of each investment to which
  7    assets in the Plans’ individual accounts had been allocated, including the value of
  8    any assets held in the form of employer securities, in violation of 29 U.S.C. §
  9    1025(a)(2)(B).
  10         48.    Pursuant to 29 U.S.C. § 1132(c)(1), the Plans seek to recover an
  11   amount of up to $100 a day from the date of each such failure for each participant
  12   and beneficiary of the Plans.
  13                             SIXTH CAUSE OF ACTION
  14     FAILURE TO PROVIDE NOTICE OF MINIMUM FUNDING FAILURE
  15                                   29 U.S.C. § 1021(d)
  16           (AGAINST DEFENDANT DOWNEY GRINDING CO. ONLY)
  17         49.    Plaintiff incorporates all previously alleged paragraphs as though fully
  18   set forth herein.
  19         50.    Plaintiff brings this cause of action on behalf of the Plans pursuant to
  20   29 U.S.C. § 1132(c)(3).
  21         51.    Defendant Downey Grinding Co., as employer, failed to notify each
  22   Pension Plan participant and beneficiary of its failures to make payments required
  23   to meet the minimum funding standard of 29 U.S.C. § 1082, in violation of 29
  24   U.S.C. § 1021(d).
  25         52.    Pursuant to 29 U.S.C. § 1132(c)(3), the Plans seek to recover an
  26   amount of up to $100 a day from the date of each such failure for each participant
  27   and beneficiary of the Pension Plan.
  28   ///


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   1                                  PRAYER FOR RELIEF
   2           WHEREFORE, Plaintiff prays for the following relief:
   3           1.    That the Court order each of the Defendants, personally, jointly and
   4    severally, to restore any and all losses caused to the Plans as a result of their
   5    fiduciary breaches;
   6           2.    That the Court order each of the Defendants, personally, jointly and
   7    severally, to disgorge to the Plans any and all unjust enrichment they received as a
   8    result of their fiduciary breaches;
   9           3.     That the Court order each of the Defendants, personally, jointly and
   10   severally, to disgorge to the Plans any and all profits or ill-gotten gains they made
   11   as a result of their improper use of assets of the Plans;
   12          4.    That the Court order each of the Defendants, personally, jointly and
   13   severally, to restore to the Pension Plan any and all minimum contributions that
   14   Defendant Downey Grinding Co. failed to make as a result of their fiduciary
   15   breaches, plus interest from the dates such contributions were due;
   16          5.    That the Court order Defendant Downey Grinding Co. to restore to the
   17   Plans the payments participants and beneficiaries would have received without
   18   regard to the amendment ostensibly terminating the Pension Plan;
   19          6.     That the Court order Defendant Downey Grinding Co. to pay to the
   20   Plans an amount of up to $100 a day from the date of each failure to provide each
   21   participant or beneficiary of the Plans with the information required to be included
   22   in a pension benefit statement;
   23          7.     That the Court order Defendant Downey Grinding Co. to pay to the
   24   Plans an amount of up to $100 a day from the date of each failure to notify each
   25   participant or beneficiary of the Pension Plan of its failure make minimum required
   26   contributions to the Pension Plan;
   27          8.    That the Court award a reasonable attorney’s fee and costs of action to
   28   Plaintiff;


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   1          9.    For such other and further relief that the Court may deem equitable
   2    and appropriate.
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   4    DATED: January 25, 2019                    HAYES PAWLENKO LLP
   5
                                                   By:/s/Kye D. Pawlenko
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                                                      Matthew B. Hayes
   7                                                  Kye D. Pawlenko
                                                      Attorneys for Plaintiff
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